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 Steven C. Coffaro
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                                           June 5, 2025

 VIA E-MAIL: elberteclll@aol.com and US MAIL

 Elbert Coleman
 6743 Bluffgrove Drive
 Indianapolis, IN 46278


         Re:      Elbert Coleman v. Coinbase
                  Marion County Superior Court Case No. 49D04-2504-CT-017424

 Dear Elbert:

         We are legal counsel to Coinbase, Inc. (“Coinbase”). In that capacity, we took note of the
 referenced action that you filed against Coinbase. I note that the Complaint has not been properly
 served in accordance with the Trial Rules, which the Court observed in denying your motion for a
 default judgment.

        Although Coinbase has no legal obligation to respond to the Complaint at this time, I have
 been asked to advise you that when and if a response is required, Coinbase would likely move the
 Court to enforce the mandatory arbitration provision in the enclosed Coinbase User Agreement
 that you accepted as a condition of doing business with Coinbase. In other words, the courts do
 not have jurisdiction over your alleged claims (which Coinbase denies). Only the American
 Arbitration Association (“AAA”) does.

         If a motion to compel arbitration is required, and if it is granted, then Coinbase will be
 entitled to recover from you its costs and attorney’s fees incurred in obtaining the order.

      We can avoid motion practice on this issue if you will agree to re-file your claims with the
 AAA. Please let me know if you will do so.

                                              Sincerely,

                                              KEATING MUETHING & KLEKAMP PLL


                                              By:
                                                             Steven C. Coffaro
 SCC:asc
 Enclosure
